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      Rodriquez, in his official capacity as Acting
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      and Luis Lopez, in his official capacity as
 10   Director of the Department of Justice Bureau
      of Firearms
 11
                       IN THE UNITED STATES DISTRICT COURT
 12
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 13
 14
 15   Matthew Jones, et al.,                      3:19-cv-01226-L-AHG
 16                                 Plaintiffs,
 17               v.                              JOINT MOTION FOR
                                                  MODIFICATION OF
 18                                               SCHEDULING ORDER IN LIGHT
      Matthew Rodriquez, in his official          OF NINTH CIRCUIT ORDER
 19   capacity as Acting Attorney General
      of the State of California, et al.,         Dept:        5B
 20
                                  Defendants. Judge:           The Honorable M. James
 21                                                            Lorenz and Magistrate
                                                               Judge Alison H. Goddard
 22
                                                  Final Pretrial Conference
 23                                               Date:         November 15, 2021
 24                                               Action
                                                  Filed:       July 1, 2019
 25
                                                  First Amended Complaint
 26                                               Filed:     July 30, 2019
 27                                               Second Amended Complaint
                                                  Filed:    November 8, 2019
 28
                                              Joint Motion for Modification of Scheduling Order
                                        in Light of Ninth Circuit Order (3:19-cv-01226-L-AHG)
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  1         Plaintiffs Matthew Jones, et al., and Defendants Matthew Rodriquez (in his
  2   official capacity as Acting Attorney General of the State of California) and Luis
  3   Lopez (in his official capacity as Director of the Department of Justice Bureau of
  4   Firearms),1 through their respective counsel of record and pursuant to Federal Rule
  5   of Civil Procedure 16(b)(4) and Civil Local Rules 7.1 and 7.2, hereby jointly move
  6   the Court for a modification of all deadlines set forth in the operative scheduling
  7   orders in this matter. ECF Nos. 71 & 77. This joint motion is made in light of the
  8   Ninth Circuit’s March 26, 2021 order directing the parties to submit supplemental
  9   briefing on several interrelated questions in the pending interlocutory appeal of this
 10   Court’s denial of Plaintiffs’ motion for preliminary injunction. ECF No. 78; see
 11   also Jones v. Becerra, No. 20-56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans.
 12   ID 12055134. It is supported by the declaration of Jennifer Rosenberg, filed
 13   concurrently herewith.
 14         The parties previously sought five modifications of the Court’s original
 15   scheduling order. The first modification moved all dates set forth in the Court’s
 16   original scheduling order by approximately 5 to 6 weeks; the second moved solely
 17   the fact discovery deadline from November 6, 2020 to December 15, 2020; the third
 18   moved all dates out by approximately 2-3 months due to the denial of Plaintiffs’
 19   motion for preliminary injunction and interlocutory appeal of that denial; the fourth
 20   extended solely the deadline for close of fact discovery; and the fifth extended
 21   solely the deadlines for close of expert and fact discovery by a few weeks in light of
 22   the scheduling of oral argument on May 12, 2021 in the interlocutory appeal. See
 23   ECF Nos. 57, 58, 64, 65, 70, 71, 72, 73, 75, 76; see also Jones v. Becerra, No. 20-
 24   56174 (9th Cir. Dec. 23, 2020), ECF No. 23, Trans. ID 11938842 (Ninth Circuit
 25   order setting modified appellate briefing schedule); Jones v. Becerra, No. 20-56174
 26         1
              Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Acting
      Attorney General Matthew Rodriquez is automatically substituted as a defendant in
 27   this matter in place of his predecessor, former Attorney General Xavier Becerra,
      and Director Luis Lopez is automatically substituted as a defendant in this matter in
 28   place of his predecessor, former Acting Director Brent E. Orick.
                                                  1
                                                Joint Motion for Modification of Scheduling Order
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  1   (9th Cir. Feb. 28, 2021), Trans. ID 12018921. This joint motion seeks to extend all
  2   deadlines set forth in the operative scheduling orders in this matter by approximately
  3   60-75 days.
  4            Good cause exists for the requested modification. The briefing schedule set
  5   by the Ninth Circuit for drafting and filing the ordered supplemental briefs and
  6   supplemental responsive briefs will require the parties to simultaneously brief the
  7   multiple substantive issues ordered by the Ninth Circuit while also finalizing their
  8   initial expert reports and drafting and finalizing their rebuttal expert reports in these
  9   trial court proceedings. Compare Jones v. Becerra, No. 20-56174 (9th Cir. Mar. 26,
 10   2021), ECF No. 50, Trans. ID 12055134 (setting deadlines for initial and responsive
 11   supplemental briefs on April 16, 2021 and April 26, 2021 respectively) with ECF
 12   No. 77 (setting deadline for initial and rebuttal expert disclosures at April 2, 2021
 13   and April 30, 2021, respectively, and close of fact and expert discovery at June 11,
 14   2021).
 15   I.         RELEVANT PROCEDURAL BACKGROUND
 16              Plaintiffs filed their First Amended Complaint for Declaratory and
 17   Injunctive Relief (FAC) on July 30, 2019 and served the FAC and summons on
 18   August 1, 2019. ECF No. 3; ECF No. 5 at 1, n.2. A case management conference
 19   was held before Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1,
 20   and thereafter, Plaintiffs filed a Second Amendment Complaint, ECF No. 20.
 21   Plaintiffs then filed a motion for a preliminary injunction on November 12, 2019,
 22   which Defendants opposed. ECF Nos. 21 & 25.
 23            In the Joint Case Management Statement the parties filed in advance of the
 24   October 9, 2019 case management conference with Magistrate Judge Goddard, as
 25   well as during the case management conference, the parties notified the Court that
 26   they planned to wait to conduct discovery until after resolution of Plaintiffs’
 27   preliminary injunction motion, and proffered the joint view that it would be
 28   premature to set a discovery schedule until after resolution of that motion. ECF No.
                                                   2
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  1   11 at 13, 20, 22; see also ECF Nos. 21 & 57. The parties desired to delay discovery
  2   in part because they anticipated that there would be an interlocutory appeal of any
  3   order on the preliminary injunction motion. ECF No. 11 at 22. Nonetheless, in
  4   accordance with the directions in Magistrate Judge Goddard’s ENE order, the
  5   parties proposed in their Joint Case Management Statement a set of discovery and
  6   pre-trial deadlines tied to resolution of the preliminary injunction motion. Id. at 22-
  7   23 [the parties assuming at that time, for purposes of proposing dates, that the
  8   preliminary injunction motion would be heard and resolved in early 2020]. The
  9   Court issued its original scheduling order after the case management conference.
 10   ECF No. 15. Subsequent modifications of the scheduling order were sought and
 11   granted in the latter half of 2020, as discussed above, including to adjust the
 12   schedule to respond to the current COVID-19 pandemic, to accommodate
 13   scheduling of depositions in light of illness, individual plaintiffs’ school exams, and
 14   work schedules, and in light of counsels’ unusually heavy caseloads on this and
 15   other matters due to the pandemic and other factors. ECF No. 57, 58, 64, 65.
 16         The Court denied Plaintiffs’ motion for preliminary injunction on November
 17   3, 2020. ECF Nos. 65, 66 (“Preliminary Injunction Order”). Plaintiffs filed their
 18   notice of appeal of the Preliminary Injunction Order on November 6, 2020. ECF.
 19   No. 67. Because of the accelerated nature of the interlocutory appeal, the briefing
 20   schedule set by the Ninth Circuit required the parties to complete the appellate
 21   briefing on an expedited basis. Jones v. Becerra, No. 20-56174 (9th Cir. Nov. 10,
 22   2020), ECF No. 4, Trans. ID 11888196. According to a modified briefing schedule,
 23   the parties’ briefs on appeal were due in December 2020 and January and February
 24   2021. Jones v. Becerra, No. 20-56174 (9th Cir. Dec. 23, 2020), ECF No. 23, Trans.
 25   ID 11938842. Because of the expedited schedule in the Ninth Circuit, the parties
 26   sought an extension of time on all deadlines in this matter of approximately 2-3
 27   months to alleviate some of the burden the parties bore in simultaneously briefing
 28   the appeal and conducting fact and expert discovery. See ECF No. 70. This Court
                                                  3
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  1   granted that motion for good cause shown on November 16, 2020. See ECF No. 71.
  2         On January 29, 2021, the parties jointly moved to extend the close of fact
  3   discovery to one week after the close of expert discovery in light of the ongoing
  4   appellate briefing, conflicts in the schedules of the parties and counsel due to
  5   professional obligations and unexpected personal needs, and the parties’ ongoing
  6   discovery efforts. See ECF No. 72. This Court granted that request for good cause
  7   shown on February 1, 2021. ECF No. 73.
  8         Briefing in the interlocutory appeal was completed on February 9, 2021.
  9   Jones v. Becerra, No. 20-56174 (9th Cir. Feb. 9, 2021), ECF No. 44, Trans. ID
 10   11997833. On February 28, 2021, the Ninth Circuit notified the parties that oral
 11   argument in the interlocutory appeal is set for May 12, 2021. See Jones v. Becerra,
 12   No. 20-56174 (9th Cir. Feb. 28, 2021), Trans. ID 12018921. On March 5, 2021, in
 13   light of the scheduling of oral argument in the appeal for a time that overlapped
 14   significantly with several fact and expert discovery deadlines set in this Court, the
 15   parties jointly requested a modest extension of time of a few weeks on solely the
 16   fact and expert discovery deadlines in the case. ECF No. 76. This Court granted
 17   that request on March 8, 2021. ECF No. 77.
 18         Under the Court’s operative scheduling orders in this action, ECF. Nos. 71 &
 19   77, the deadlines currently set in this case are as follows:
 20
 21    Action                                                     Current Deadline
             Expert witness designations to be made in            Friday, April 2, 2021
 22          writing
 23          Compliance with disclosure obligations under
             Federal Rule of Civil Procedure 26(a)(2)(A)
 24          and (B)
 25
             Exchange of rebuttal expert witnesses                Friday, April 30, 2021
 26          Supplementation of parties’ disclosures
 27          regarding contradictory or rebuttal evidence
             under Rule 26(a)(2)(D)
 28
                                                  4
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  1          Expert discovery to be completed                    Friday, June 11, 2021
  2
             Close of fact discovery                             Friday, June 11, 2021
  3
             All pretrial motions, other than motions in         Friday, July 16, 2021
  4
             limine, to be filed
  5
             Mandatory settlement conference                     Thursday, Sept. 23,
  6
                                                                 2021, at 2 p.m.
  7          Plaintiffs’ written settlement proposal to be       No later than Thursday,
             served                                              Sept. 2, 2021
  8
  9          In-person or telephonic meet-and-confer             No later than Thursday,
             regarding settlement offer to be held               Sept. 9, 2021
 10
 11          Defendants’ written response to settlement
             proposal to be made in writing, prior to the
 12          meet-and-confer
 13
             Each party to serve and lodge settlement            Tuesday, Sept. 14, 2021
 14          conference statement
 15
             Optional confidential settlement letter may be      Tuesday, Sept. 14, 2021
 16          lodged for Court’s review
 17
             Compliance with Rule 26(a)(3) pre-trial             Thursday, Oct. 14, 2021
 18          disclosure requirements in advance of final
 19          pre-trial conference

 20          Parties to meet and take action required by         Thursday, Oct. 21, 2021
             Local Rule 16.1(f)(4)
 21
 22          Plaintiffs to provide defendants with draft         Thursday, Oct. 28, 2021
             proposed final pretrial order for review and
 23          approval
 24
             The proposed final pretrial conference order,       Thursday, Nov. 4, 2021
 25          including objections to Rule 26(a)(3) pretrial
 26          disclosures, shall be served and lodged with
             Judge Lorenz
 27
 28
                                                 5
                                               Joint Motion for Modification of Scheduling Order
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  1             Final pretrial conference                           Monday, Nov. 15, 2021
  2                                                                 at 11 a.m.

  3
  4         On March 26, 2021, after the parties had sought their previous modest

  5   extension of time, the Ninth Circuit issued an order in the interlocutory appeal

  6   requesting supplemental briefing on three interrelated questions addressing the

  7   original public meaning of the Second Amendment and the potential use of the tool

  8   of corpus linguistics to interpret the amendment. ECF No. 78; see also Jones v.

  9   Becerra, No. 20-56174 (9th Cir. Mar. 26, 2021), ECF No. 50, Trans. ID 12055134. 2

 10   Under that order, the parties must file supplemental briefs and supplemental

 11   responsive briefs in the Ninth Circuit on April 16, 2021 and April 26, 2021

 12   respectively.

 13   II.        GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER

 14         Counsel for the parties have met and conferred and agree that a modification

 15   of the scheduling order to continue all deadlines currently set in the case by

 16   approximately 60-75 days is appropriate to permit them to complete the ordered

 17   supplemental briefing in the interlocutory appeal and prepare for oral argument,

 18         2
                The supplemental briefing order provides:
 19                Appellants and Appellees are ordered to file supplemental
            briefing addressing the original public meaning of the Second
 20         Amendment. In the briefs, the parties are instructed to specifically
            address the following:
 21
                      1. What is the original public meaning of the Second
 22                   Amendment phrases: “A well regulated Militia”; “the right of
                      the people”; and “shall not be infringed”?
 23
                      2. How does the tool of corpus linguistics help inform the
 24                   determination of the original public meaning of those Second
                      Amendment phrases? (See Corpus of Historical American
 25                   English, BYU, https://www.english-corpora.org/coha/; Corpus
                      of Contemporary American English, BYU, https://www.english-
 26                   corpora.org/coca/)
 27                   3. How do the data yielded from corpus linguistics assist in the
                      interpretation of the constitutionality of age-based restrictions
 28                   under the Second Amendment?
                                                    6
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  1   while avoiding significant new conflicts between the appellate schedule and the
  2   expert discovery and other deadlines set forth in this Court’s operative scheduling
  3   orders. See Declaration of Jennifer Rosenberg ¶¶ 3, 8.
  4         Given the Ninth Circuit’s supplemental briefing request, the parties
  5   unexpectedly will need to devote substantial time and resources to drafting their
  6   supplemental and responsive supplemental briefs in the interlocutory appeal in the
  7   next 5 weeks. Id. ¶ 4. Although the parties had not previously anticipated seeking
  8   another modification, the deadlines currently set in this Court’s operative scheduling
  9   orders, including the time period within which initial and rebuttal expert reports and
 10   depositions must occur, now overlap substantially with the supplemental briefing
 11   schedule set by the Ninth Circuit. The parties also will still need to devote time to
 12   preparing for the oral argument of the appeal in the next several weeks. See id. ¶ 6.
 13   The parties also continue to work through exchanging discovery responses, and
 14   several depositions of the parties remain to be taken. Id. ¶ 5.
 15         Thus, absent an extension of time on the deadlines in this case, the parties will
 16   be forced to divert resources from their efforts to complete fact and expert discovery
 17   in order to complete their supplemental appellate briefs, obviating the benefit of the
 18   small extension of time the Court just granted on March 8, 2021. Id. ¶ 7. The
 19   requested extension of approximately 60-75 days would relieve some of these
 20   simultaneous burdens. Id. ¶ 8.
 21         Further, the requested extension of time will permit all parties to consider, in
 22   light of the Ninth Circuit’s express interest in the subject, whether and to what
 23   extent they should or would like to present corpus linguistics analysis—a relatively
 24   new analytical tool—in these trial court proceedings. Id. ¶ 9. And lastly, as the
 25   parties have discussed throughout the life of this matter, the Ninth Circuit’s decision
 26   in the interlocutory appeal may shape the legal standards applicable to, and direction
 27   of, these trial court proceedings. To the extent that the Ninth Circuit rules quickly in
 28   the interlocutory appeal, the extension of time here may permit the parties to
                                                  7
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  1   appropriately adjust the focus, scope, and nature of the arguments and evidence that
  2   should be presented here. Id. ¶ 10.
  3         WHEREFORE:
  4         The parties hereby jointly request that the Court issue an order modifying all
  5   remaining deadlines set in the operative scheduling orders (ECF Nos. 71 & 77) as
  6   follows:
  7
  8    Action                                    Current Deadline               New Deadline
             Expert witness designations to be   Friday, April 2,               Wednesday,
  9          made in writing                     2021                           June 2, 2021
 10          Compliance with disclosure
             obligations under Federal Rule of
 11          Civil Procedure 26(a)(2)(A) and (B)
 12
             Exchange of rebuttal expert                Friday, April 30,       Wednesday,
 13          witnesses                                  2021                    July 7, 2021
 14          Supplementation of parties’
             disclosures regarding contradictory
 15          or rebuttal evidence under Rule
 16          26(a)(2)(D)

 17          Expert discovery to be completed           Friday, June 11,        Wednesday,
                                                        2021                    Aug. 11, 2021
 18
             Close of fact discovery                    Friday, June 11,        Wednesday,
 19                                                     2021                    Aug. 11, 2021
 20          All pretrial motions, other than           Friday, July 16,        Wednesday,
             motions in limine, to be filed             2021                    Sept. 22, 2021
 21
             Mandatory settlement conference            Thursday, Sept. 23, Thursday, Dec.
 22
                                                        2021, at 2 p.m.     2, 2021, at 2
 23                                                                         p.m.
 24          Plaintiffs’ written settlement             No later than       Wednesday,
             proposal to be served                      Thursday, Sept. 2, Nov. 12, 2021
 25                                                     2021
 26
 27
 28
                                                    8
                                                  Joint Motion for Modification of Scheduling Order
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 1          In-person or telephonic meet-and-        No later than           No later than
 2          confer regarding settlement offer to     Thursday, Sept. 9,      Thursday, Nov.
            be held                                  2021                    18, 2021
 3
 4          Defendants’ written response to
            settlement proposal to be made in
 5          writing, prior to the meet-and-
 6          confer

 7          Each party to serve and lodge            Tuesday, Sept. 14,      Tuesday, Nov.
            settlement conference statement          2021                    23, 2021
 8
 9          Optional confidential settlement         Tuesday, Sept. 14,      Tuesday, Nov.
            letter may be lodged for Court’s         2021                    23, 2021
10
            review
11
            Compliance with Rule 26(a)(3) pre- Thursday, Oct. 14,            Wednesday,
12          trial disclosure requirements in      2021                       Dec. 22, 2021
13          advance of final pre-trial conference
14          Parties to meet and take action          Thursday, Oct. 21,      Thursday, Jan.
15          required by Local Rule 16.1(f)(4)        2021                    7, 2022
16          Plaintiffs to provide defendants with Thursday, Oct. 28,         Thurs., Jan. 13,
17          draft proposed final pretrial order   2021                       2022
            for review and approval
18
19          The proposed final pretrial              Thursday, Nov. 4,       Thursday, Jan.
            conference order, including              2021                    20, 2022
20          objections to Rule 26(a)(3) pretrial
21          disclosures, shall be served and
            lodged with Judge Lorenz
22
23          Final pretrial conference                Monday, Nov. 15,        Monday, Jan.
                                                     2021 at 11 a.m.         24, 2022 at 11
24                                                                           a.m.
25
           Although the parties do not anticipate seeking further modification in the
26
     future, they also jointly request that the Court’s order modifying the scheduling
27
     order reserve the parties’ ability to seek the Court’s approval of further
28
                                                 9
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 1   modifications for good cause should the need to do so arise.
 2          A proposed order will be lodged with the Court concurrently with the
 3   submission of this joint motion.
 4
     Dated: March 30, 2021                         Respectfully Submitted,
 5
                                                   MATTHEW RODRIQUEZ
 6                                                 Acting Attorney General of California
                                                   MARK BECKINGTON
 7                                                 Supervising Deputy Attorney General
                                                   JOHN D. ECHEVERRIA
 8                                                 Deputy Attorney General
 9
10
                                                   _/s/ Jennifer E. Rosenberg________
11                                                 JENNIFER E. ROSENBERG
                                                   Deputy Attorney General
12                                                 Attorneys for Defendants Matthew
                                                   Rodriquez, in his official capacity as
13                                                 Acting Attorney General of the State
                                                   of California, and Luis Lopez, in his
14                                                 official capacity as Director of
                                                   the Department of Justice Bureau of
15                                                 Firearms
16
                                                   DILLON LAW GROUP, APC
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18
19                                                 _/s/ John Dillon_________________
                                                   JOHN DILLON
20                                                 Attorney for Plaintiffs
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 1      Certification re: Electronic Signatures Pursuant to Electronic Case Filing
             Administrative Policies and Procedures Manual, Section 2(f)(4)
 2
 3         I, Jennifer E. Rosenberg, hereby certify and attest that the content of this
 4   document is acceptable to all persons required to sign the document and that I have
 5   obtained authorization for use of the electronic signatures of all parties on the
 6   document, including Mr. John Dillon, Attorney for Plaintiffs.
 7
 8
     Dated: March 30, 2021
 9
10
11                                                  _/s/ Jennifer E. Rosenberg________
                                                    JENNIFER E. ROSENBERG
12                                                  Deputy Attorney General
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